Case 2:18-cr-20495-DML-MKM ECF No. 57 filed 05/01/19   PageID.150   Page 1 of 2



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


United States of America,

                   Plaintiff,             Case No. 18-20495
      v.
                                          Hon. David M. Lawson
Ibraheem Izzy Musaibli,

                   Defendant.
                                /

           Notice of Withdrawal of Motion for Order Limiting
           Extrajudicial Pretrial Statements by Parties (R. 51)

      Ibraheem Izzy Musaibli, through his attorneys, the Federal

Community Defender for the Eastern District of Michigan, notifies this Court

that he is withdrawing the motion for a protective order restricting public

communications by parties and their attorneys to prevent the substantial

likelihood of prejudicial pretrial publicity and to both protect the

administration of justice and Mr. Musaibli’s due process rights.

      The day after filing the superseding indictment, the United States

Attorney’s Office of the Eastern District of Michigan issued a press release

regarding the newly issued superseding indictment filed in this case.

Michigan Man who Joined ISIS is Charged with Additional Offenses, U.S.

Dept. of Justice (Apr. 10, 2019). This press release included a statement that


                                      1
Case 2:18-cr-20495-DML-MKM ECF No. 57 filed 05/01/19   PageID.151   Page 2 of 2



was potentially prejudicial to Mr. Musaibli’s right to a fair trial. That

statement is no longer included as part of the press release after its update

on April 24, 2019.

      Both parties subsequently conferred on this issue and agreed that the

removal of the statement from the press release obviates the need at this time

for Mr. Musaibli’s motion for a protective order restricting public

communications by parties and their attorneys.

                                   Submitted,


                                   s/Fabián Rentería Franco
                                   Fabián Rentería Franco
                                   James R. Gerometta
                                   Miriam Siefer
                                   Attorneys for Mr. Musaibli
                                   FEDERAL COMMUNITY DEFENDER
                                   613 Abbott Street, 5th Floor
                                   Detroit, Michigan 48226
                                   Email: fabian_renteria_franco@fd.org
                                   Phone: 313.463.6143
                                   Facsimile: 313.962.0685

Dated: May 1, 2019




                                      2
